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 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE

 8   KYLE LYDELL CANTY,

 9                                 Plaintiff,             Case No. C16-1655-RAJ-JPD

10          v.                                            ORDER STRIKING PLAINTIFF’S
                                                          SUBMISSIONS AND RE-NOTING
11   KING COUNTY, et al.,                                 DISPOSITIVE MOTIONS

12                                 Defendants.

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14          This is a civil rights action proceeding under 42 U.S.C. § 1983. On September 15, 2017,

15   this Court issued an Order to Show Cause directing plaintiff to explain why he was not

16   complying with the Court’s mandatory Prisoner E-Filing Initiative. (Dkt. 113.) The Court noted

17   in its Order that plaintiff had been repeatedly advised that his compliance with the E-Filing

18   Initiative was mandatory, in accordance with General Order 06-16, and yet he continued to

19   submit documents via the U.S. Mail. (Id.) Plaintiff was advised that his failure to provide a

20   meaningful response to the Order to Show Cause would result in all non-complying documents

21   submitted after the date of the Order being returned to him unfiled. (Id.)

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 1          Since the date of that Order, plaintiff has submitted 17 additional documents to the Court,

 2   all via U.S. Mail. (See Dkts. 117, 118, 119, 120, 127, 128, 131, 134, 135, 136, 137, 138, 139,

 3   140, 141, 142, and 143.) Included among those documents is plaintiff’s response to the Order to

 4   Show Cause in which he essentially asserts that he never entered into any agreement with the

 5   Court to comply with General Order 06-16, and he therefore isn’t bound by the Court’s

 6   mandatory Prisoner E-Filing Initiative. (Dkt. 134.) However, the General Order expressly states

 7   that the Prisoner E-Filing Initiative is “mandatory for all prisoner litigants incarcerated at

 8   facilities actively engaged in the Prisoner E-Filing Initiative.” General Order No. 06-16.

 9   Plaintiff is housed at a Washington Department of Corrections (DOC) facility that is actively

10   engaged in the Prisoner E-Filing Initiative, as he has been since his transfer into DOC custody,

11   which means that his participation in the program is mandatory. Whether or not plaintiff agreed

12   to participate in the E-Filing Initiative is, quite simply, irrelevant. Because the non-complying

13   documents have already been filed, the Court will not return them to plaintiff but will, instead,

14   simply strike them from the record and will not consider them further.

15          Based on the foregoing, the Court hereby ORDERS as follows:

16          (1)     Plaintiff’s submissions received since September 15, 2017 which are not in

17   compliance with the Court’s Prisoner E-Filing Initiative (Dkts. 117, 118, 119, 120, 127, 128,

18   131, 134, 135, 136, 137, 138, 139, 140, 141, 142, and 143) are STRICKEN. Any subsequent

19   non-complying submissions will be stricken as well.

20          (2)     Also pending at the present time are the City of Seattle defendants’ motion to

21   dismiss or, in the alternative, to compel discovery (Dkt. 121), and the King County defendants’

22   motion for dismissal and for summary judgment (Dkt. 123). The motions were both noted on the

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 1   Court’s calendar for consideration on October 27, 2017, and both motions seek dismissal based

 2   on plaintiff’s refusal to participate in the discovery process. Plaintiff has not responded in any

 3   fashion to defendants’ dispositive motions, opting instead to occupy himself with filing a series

 4   of frivolous motions which in no way serve to advance this action. Though plaintiff has had

 5   ample time to file a response to the pending dispositive motions, the Court deems it appropriate

 6   to give plaintiff one final opportunity to respond given that a ruling in defendants’ favor on the

 7   pending motions would result in termination of this action.

 8          Accordingly, plaintiff is directed to file any response to defendants’ pending dispositive

 9   motions not later than November 27, 2017. Plaintiff is advised, in this regard, that defendants

10   have made a compelling argument for dismissal of this action based upon plaintiff’s failure to

11   participate in the discovery process. Just as participation in the Court’s Prisoner E-Filing

12   Initiative is mandatory, so to is participation in the discovery process mandatory. If plaintiff

13   continues in his refusal to participate in discovery, this Court will have no alternative but to

14   recommend dismissal of this action.

15          (3)     Defendants’ dispositive motions (Dkts. 121 and 123) are RE-NOTED on the

16   Court’s calendar for consideration on December 1, 2017.

17          (4)     The Clerk is directed to send copies of this Order to plaintiff, to counsel for

18   defendants, and to the Honorable Richard A. Jones.

19          Dated this 30th day of October, 2017.

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                                                    A
                                                    JAMES P. DONOHUE
                                                    Chief United States Magistrate Judge
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